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                             EXHIBIT
                               “A”
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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 15-cv-22126-WILLIAMS

   ELPIDIO CONCEPCION, and all others
   similarly situated,

             Plaintiff,

   vs.

   B&R PRODUCTS, INC., a Florida
   Corporation,

             Defendant.                           /

                      AMENDED ANSWER AND DEFENSES TO COMPLAINT

             The Defendant, B & R Products, Inc., by and through undersigned counsel, hereby

   answers the respective paragraphs of Plaintiff’s Complaint as follows:

             1.     Defendant admits that Plaintiff brings suit pursuant to the Fair Labor Standards

   Act (“FLSA”) and that jurisdiction in this Court is proper, but denies Plaintiff is entitled to any

   relief.

             2.     Defendant admits that Plaintiff seeks damages in excess of $15,000, exclusive of

   attorney’s fees and that jurisdiction in this Court is proper, but denies Plaintiff is entitled to any

   such relief.

             3.     For jurisdictional purposes only, Defendant admits it is a Florida Profit

   Corporation and that it engages in business, and has its principal place of business, in Miami-

   Dade County.

             4.     Defendant admits that it is a covered employer under the FLSA, as alleged in

   paragraph 4.
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            5.      Defendant admits that it is a covered employer under the FLSA, as alleged in

   paragraph 5.

                                         Count I: Overtime Wage Claim

            6.      Defendant reaffirms its responses to paragraphs 1-5 referred to herein.

            7.      Defendant admits the allegations in paragraph 7.

            8.      Defendant denies the allegations in paragraph 8.

            9.      Defendant denies the allegations in paragraph 9.

            10.     Defendant denies the allegations in paragraph 10.

            11.     Paragraph 11 contains statements of law, and thus no response is required to those

    statements. To the extent paragraph 11 alleges Defendant violated the FLSA, Defendant denies

    same.

            12.     Defendant denies there are similarly situated employees as alleged in Paragraph

    12.

            13.     Defendant admits it maintained Plaintiff’s payroll records. Defendant denies the

    remaining allegations in paragraph 13.

            14.     Defendant is without knowledge as to the allegations in paragraph 14, and

   therefore denies same.

            15.     Any remaining allegations in the Complaint not specifically addressed above are

   hereby denied.

                                               DEFENSES

                                            FIRST DEFENSE

            The Complaint, in whole or in part, fails to state a claim upon which relief can be

   granted.




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                                          SECOND DEFENSE

            The Complaint, in whole or in part, is barred by the applicable statute of limitations.

                                            THIRD DEFENSE

            Any violation by Defendant was not willful, and thus the statute of limitations should not

   be extended for three years.

                                          FOURTH DEFENSE

            Defendant is, in whole or in part, exempted from liability pursuant to 29 U.S.C. § 254

   and § 258.

                                            FIFTH DEFENSE

            Any and all acts or omissions by Defendant giving rise to this action were in good faith

   and based upon the reasonable belief that Defendant was not violating the Fair Labor Standards

   Act, and consequently, Plaintiff is not entitled to liquidated damages under 29 U.S.C. § 260.

                                            SIXTH DEFENSE

            Defendant acted at all times in good faith and in accordance with all applicable local,

   state and federal laws, statutes, ordinances and regulations.

                                          SEVENTH DEFENSE

            Plaintiff’s claims are barred in whole or in part by Section 10 of the Portal-to-Portal Act,

   29 U.S.C. § 259, because actions taken in connection with Plaintiff’s compensation were done in

   good faith in conformity with and reliance upon written administrative regulations, orders,

   rulings, approvals, interpretations, and written and unwritten administrative practices or

   enforcement policies of the Administrator of the Wage and Hour Division of the U.S.

   Department of Labor.




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                                         EIGHTH DEFENSE

            If Defendant violated the FLSA, which is denied, such violations were not done with

   malice, reckless indifference to the rights of the Plaintiff or done willfully within the meaning of

   29 U.S.C. § 255(a). Any violation by Defendant was not willful.

                                          NINTH DEFENSE

            At all or some material time, Plaintiff was exempt from the requirements of 29 U.S.C. §

   207.

                                          TENTH DEFENSE

       Plaintiff was an employee employed in a bona fide executive, administrative or professional

   capacity, and as such is precluded from relief under the Fair Labor Standards Act.

                                       ELEVENTH DEFENSE

       Without admitting that Plaintiff has suffered any damages, Defendant avers that recovery by

   Plaintiff must be set-off by the amount of money or other benefits he received, either directly or

   indirectly, as payment from contractors for getting such contractors hired by Defendant. Upon

   information and belief, Plaintiff solicited and obtained money, directly or indirectly, from

   contractors for personal gain. Plaintiff spent his energies on personal gain when his energies

   should have been placed on Defendant’s work and acting in Defendant’s best interests.

                                          TWELFTH DEFENSE

       Plaintiff’s claims fail, in whole or in part, because of the doctrine of unclean hands. Upon

   information and belief, Plaintiff was paid compensation, either directly or indirectly, by

   contractors for using those contractors to perform work for Defendant. Plaintiff solicited and

   obtained this money from contractors for personal gain. Plaintiff did this while he was supposed




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   to be acting in Defendant’s best interests, thereby breaching his duty of loyalty to Defendant. It

   would be inequitable to allow him to obtain additional wages from Defendant.




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